Case 1:14-cv-00002-GMS Document 19 Filed 02/22/18 Page 1 of 2 PageID #: 133
 Case 1:14-cv-00002-GMS Document 17 Filed 02/20/18 Page 1of2 PagelD #: 131




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

AIP ACQUISITION LLC,

               Plaintiff,

        v.
                                                           C.A. No. 14-002-GMS
VONAGE HOLDINGS CORP., VONAGE
AMERICA INC., and VONAGE MARKETING
LLC,

               Defendants.

                       STIPULATION AND [PROPOSED] ORDER
                    OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii), AIP Acquisition, LLC ("Plaintiff') and

Defendants Vonage Holdings Corp., Vonage America Inc., and Vonage Marketing LLC

("Defendants") jointly stipulate and agree that all claims asserted by Plaintiff against Defendants

in this case shall be dismissed with prejudice. Each party is to bear its own costs and attorney

fees.

BAYARD, P.A.                                MORRIS, NICHOLS, ARSHT, & TUNNELL LLP

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AIP Acquisition LLC                         and Vonage Marketing LLC

Dated: February 20, 2018
Case 1:14-cv-00002-GMS Document 19 Filed 02/22/18 Page 2 of 2 PageID #: 134
Case 1:14-cv-00002-GMS Document 17 Filed 02/20/18 Page 2 of 2 PagelD #: 132




IT IS SO ORDERED this   £   -~L   of _ _ _ _ U-t-+--------'   2018.




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